      Case 2:18-cv-01856-MVL-DEK Document 15 Filed 10/22/18 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

MARVIN GUERRERO MADRID                                                CIVIL ACTION

VERSUS                                                                NO. 18-1856

DAVID REID ET AL                                                      SECTION: S (3)

                                    SCHEDULING ORDER


               A Scheduling Conference was held October 22, 2018.

               Participating were:
                DARYL GRAY, FOR PLAINTIFF
                JACOB CULOTTA, JR., FOR DEFENDANTS

               Issue is joined as to all parties. Jurisdiction and venue are established.

               Counsel shall complete all disclosure of information as follows:

               Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) have not been completed.

Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) must be exchanged no later than

NOVEMBER 5, 2018.

               Amendments to pleadings, third-party actions, crossclaims, and counterclaims shall

be filed no later than NOVEMBER 27, 2018, in accordance with Local Rule 7.6.

               Counsel adding new parties subsequent to mailing of this Notice shall serve on each

new party a copy of this Minute Entry. Pleadings responsive thereto, when required, shall be filed

within the applicable delays therefor.

               Written reports of experts, as defined by the Federal Rules of Civil Procedure

26(a)(2)(B), who may be witnesses for Plaintiffs fully setting forth all matters about which they will

testify and the basis therefor shall be obtained and delivered to counsel for Defendant as soon as

possible, but in no event later than MARCH 8, 2019.
       Case 2:18-cv-01856-MVL-DEK Document 15 Filed 10/22/18 Page 2 of 3



               Written reports of experts, as defined by the Federal Rules of Civil Procedure

26(a)(2)(B), who may be witnesses for Defendants fully setting forth all matters about which they

will testify and the basis therefor shall be obtained and delivered to counsel for Plaintiff as soon as

possible, but in no event later than APRIL 8, 2019.

               Counsel for the parties shall file in the record and serve upon their opponents a list

of all witnesses who may or will be called to testify at trial and a list of all exhibits which may or

will be used at trial no later than MAY 7, 2019.

               The Court will not permit any witness, expert or fact, to testify or any exhibits to be

used unless there has been compliance with this Order as it pertains to the witness and/or exhibits,

without an order to do so issued on motion for good cause shown.

               Depositions for trial use shall be taken and all discovery shall be completed no later

than MAY 7, 2019.

               This case does not involve extensive documentary evidence, depositions or other

discovery. No special discovery limitations beyond those established in the Federal Rules, Local

Rules of this Court, or the Plan are established.

               All pretrial motions, including motions in limine regarding the admissibility of expert

testimony, shall be filed and served in sufficient time to permit a submission date no later than

MAY 22, 2019. All motions filed in violation of this Order shall be deemed waived unless good

cause is shown. All other motions in limine shall be allowed to be filed up to the time of trial or as

otherwise ordered by the Court.

               Settlement possibilities were not discussed. A settlement conference before the

Magistrate Judge should be scheduled and held no later than JULY 3, 2019.


                                                    2
       Case 2:18-cv-01856-MVL-DEK Document 15 Filed 10/22/18 Page 3 of 3



               A Final Pretrial Conference will be held on JULY 18, 2019 at 2:00 p.m. Counsel

will be prepared in accordance with the final Pretrial Notice attached.

               Trial will commence on AUGUST 5, 2019 at 9:00 a.m. before the District Judge

WITH a jury. Attorneys are instructed to report for trial no later than 30 minutes prior to this time.

The starting time on the first day of a jury trial may be delayed or moved up because of jury pooling.

Trial is estimated to last 3-4 days.

               If needed during trials, counsel are invited to use the Michaelle Pitard Wynne

Attorney Conference Center located in Room B-245 on the second floor of the Hale Boggs Federal

Building near the crossover to the Courthouse. The space features three private conference rooms,

a lounge, and a computer workroom with internet, copy, fax and print services. Details and

information on these services including conference room reservations can be found at

http://nofba.org or by contacting Amanda T. Kaiser, Executive Director at 504-589-7990 or

fbaneworleans@gmail.com.

               Deadlines, cut-off dates, or other limits fixed herein may only be extended by the

Court upon timely motion filed in compliance with Local Rules and upon a showing of good cause.

Continuances will not normally be granted. If, however, a continuance is granted, deadlines and cut

off dates will be automatically extended, unless otherwise ordered by the Court.


                                               MARY ANN VIAL LEMMON
                                               UNITED STATES DISTRICT JUDGE

                                               Issued for the Court:

                                               By:    Erin Mouledous
                                                      Case Manager
                                                      504-589-7695


                                                  3
